17-13162-shl         Doc 676      Filed 10/05/18     Entered 10/05/18 16:56:05            Main Document
                                                    Pg 1 of 4


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 Navillus Tile, Inc. d/b/a Navillus Contracting

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------------------------------
                                                                   x
                                                                   :
 In re:                                                            : Chapter 11
                                                                   :
 NAVILLUS TILE, INC., d/b/a NAVILLUS                               : Case No. 17-13162 (shl)
 CONTRACTING,                                                      :
                                                                   :
                             Debtor.                               :
                                                                   :
-------------------------------------------------------------------------------
                                                                   x

                  REPLY TO LIMITED OBJECTION OF HUNTER ROBERTS
              CONSTRUCTION GROUP LLC TO CONSENSUAL AMENDED PLAN
              OF REORGANIZATION OF NAVILLUS TILE, INC., d/b/a NAVILLUS
             CONTRACTING UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

             Navillus Tile, Inc., d/b/a Navillus Contracting, the above-captioned debtor and debtor-in-

 possession (“Navillus” or the “Debtor”), by and through its special litigation and conflicts

 counsel Otterbourg P.C., hereby submits this reply (the “Reply”) to the limited objection (the

 “Limited Objection”)(Dkt. No. 668) filed by Hunter Roberts Construction Group LLC (“Hunter

 Roberts”) to the Debtor’s Amended Plan of Reorganization (the “Plan”)(Dkt. No. 603) and

 respectfully states as follows:

                                    PRELIMINARY STATEMENT

             1.     The Court should overrule the Limited Objection because the Debtor has agreed

  to include language in the proposed Confirmation Order sufficient to protect Hunter Roberts’


 5445041.1
17-13162-shl          Doc 676     Filed 10/05/18    Entered 10/05/18 16:56:05         Main Document
                                                   Pg 2 of 4


 ability to assert defenses in the pending adversary proceeding (or complaints filed in the future)

 as well as assert defenses if the Debtor objects to any proof of claim filed by Hunter Roberts.

 Since the language suggested by the Debtor protects Hunter Roberts’ rights, the Limited

 Objection should be overruled.

            2.      Indeed, after Hunter Roberts filed the Limited Objection, the parties have

 attempted to reach an amicable resolution and the Debtor suggested to Hunter Roberts’ counsel

 to add the following language to the proposed Confirmation Order:

                 Resolution With Hunter Roberts. Notwithstanding anything to the contrary herein or
                 in the Plan, including the provisions of Article XII of the Plan, Hunter Roberts
                 Construction Group LLC (“Hunter Roberts”) shall have the right to:

                 (i) defend against any adversary proceeding filed against Hunter Roberts by the
                 Debtor or the Reorganized Debtor or any other entity asserting claims on behalf of the
                 Debtor’s estate (hereinafter the “Debtor”), including, without limitation, the adversary
                 proceeding styled as Navillus Tile, Inc. d/b/a Navillus Contracting v. Hunter Roberts
                 Construction Group, LLC (Adv. Proc. No. 18-01638);

                 (ii) defend against any objection(s) interposed by the Debtor against any proofs of
                 claim (as same may be amended and allowed pursuant to Bankruptcy Court Order)
                 filed on Hunter Roberts’ behalf;

                 (iii) timely file any Claim(s) on or before the Rejection Damages Bar Date regarding
                 the rejection of contract(s) by and between the Debtor and Hunter Roberts and defend
                 against any objection(s) interposed by the Debtor against any such Claim(s)(as same
                 may be amended and allowed pursuant to Bankruptcy Court Order); and

                 (iv) exercise any rights and remedies without restriction under any assumed contracts.

            3.      Such added language provides sufficient protections to Hunter Roberts with

 respect to its right to defend itself in regards to the pending adversary proceeding against it.

 The Debtor’s suggested language addresses the issues raised by Hunter Roberts in its Limited

 Objection by clearly stating that nothing contained in the release language prevents it from

 defending itself in the pending (or any subsequently filed) adversary proceeding(s).



5445041.1                                             2
17-13162-shl        Doc 676    Filed 10/05/18    Entered 10/05/18 16:56:05       Main Document
                                                Pg 3 of 4


            4.    Similarly, such added language that has been presented by the Debtor to Hunter

 Roberts gives it further protection with respect to its ability to defend itself against any

 Objection to Claim filed against Hunter Roberts.

            5.    Notwithstanding the parties attempt to amicably resolve the Limited Objection,

 Hunter Roberts and the Debtor disagree regarding additional language requested by Hunter

 Roberts.

            6.    Hunter Roberts requested, and the Debtor declined to include language in the

 proposed Confirmation Order regarding Hunter Roberts’ ability to assert “set-off, recoupment

 and counterclaims” to any pending or future adversary proceeding or Objection to Claim. In

 particular, Hunter Roberts wants the right to assert a set-off utilizing any amounts owed to

 Hunter Roberts which may have been discharged under the Plan.

            7.    The Debtor believes that including such language may create rights that either

 Hunter Roberts never had or that are subject to the discharge provisions provided for in the

 Plan. Moreover, including such language may be construed as giving Hunter Roberts greater

 rights than similarly situated creditors. For these reasons, the Debtor requests that the Limited

 Objection be overruled.

                                          CONCLUSION

            WHEREFORE, for the reasons set forth herein, and in light of the Debtor offering to

include language in the proposed Confirmation Order that preserves Hunter Roberts’ right to

defend itself against any adversary proceeding or objection to claim, it is respectfully requested




5445041.1                                         3
17-13162-shl    Doc 676      Filed 10/05/18    Entered 10/05/18 16:56:05      Main Document
                                              Pg 4 of 4


that the Court (a) overrule the Limited Objection in its entirety; (b) confirm the Plan; and (c)

grant such other and further relief as the Court deems just and proper.

Dated: New York, New York
       October 5, 2018                               OTTERBOURG P.C.


                                              By:    /s/ Melanie L. Cyganowski
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                                                     Contracting




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